          Case 2:03-cr-00371-JAM-EFB Document 1180 Filed 07/07/20 Page 1 of 3



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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         CASE NO. 2:03-CR-00371-MCE-EFB
12                                Plaintiff,           STIPULATION AND ORDER REGARDING
                                                       BRIEFING SCHEDULE ON DEFENDANT’S
13                         v.                          MOTION FOR REDUCTION IN SENTENCE AND
                                                       COMPASSIONATE RELEASE
14   DWAYNE LAMONT SLATER,
15                                Defendant.
16

17                                                 STIPULATION
18          1.     Defendant Dwayne Slater filed a motion for reduction in sentence and compassionate
19 release on June 13, 2020. Docket No. 1166. The government’s response is due by July 2, 2020, and any

20 reply filed by July 9, 2020.

21          Counsel for the defendant does not oppose this request.
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          Case 2:03-cr-00371-JAM-EFB Document 1180 Filed 07/07/20 Page 2 of 3



 1         2.      The parties desire additional time for briefing on defendant’s motion because the

 2 underlying medical records are voluminous and this motion is one of many compassionate-release

 3 currently pending. Accordingly, by this stipulation, the parties now move that:

 4                 a)      The government’s opposition or response to defendant’s motion, Docket No.

 5 1166, be due on July 6, 2020; and

 6                 b)      The defense reply, if any, will be due on July 13, 2020.

 7

 8         IT IS SO STIPULATED.

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                                                          McGREGOR W. SCOTT
10                                                        United States Attorney
11   Dated: July 1, 2020
                                                          /s/ Jason Hitt
12                                                        JASON HITT
                                                          Assistant United States Attorney
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14
     Dated: July 1, 2020                                  /s/ John P. Balazs
15                                                        JOHN P. BALAZS
                                                          Counsel for Defendant Dwayne Slater
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          Case 2:03-cr-00371-JAM-EFB Document 1180 Filed 07/07/20 Page 3 of 3



 1                                                 ORDER

 2         Based upon the stipulation and representations of the parties, the Court adopts the proposed

 3 revised briefing schedule as follows:

 4                 a)     The government’s opposition or response to defendant’s motion, Docket No.

 5 1166, is due on July 6, 2020;

 6                 b)     The defense reply, if any, will be due on July 13, 2020.

 7         IT IS SO ORDERED.

 8 Dated: July 7, 2020

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